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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                       )
                                                )                  8:14CR391
                      Plaintiff,                )
                                                )
       vs.                                      )                    ORDER
                                                )
JESSIE SAENZ-VALDEZ and,                        )
AUGUSTINE M. GARCIA,                            )
                                                )
                      Defendants.               )

       This matter is before the court on the motion for an extension of time by defendant Jessie
Saenz-Valdez (Saenz-Valdez) (Filing No. 30). Saenz-Valdez seeks an additional ninety days
in which to file pretrial motions in accordance with the progression order. Saenz-Valdez has
filed an affidavit wherein he consents to the motion and acknowledges he understands the
additional time may be excludable time for the purposes of the Speedy Trial Act (Filing No. 34).
Upon consideration, the motion will be granted. The deadline for filing pretrial motions will
be extended as to both defendants.


       IT IS ORDERED:
       Defendant Saenz-Valdez's motion for an extension of time (Filing No. 30) is granted.
Both defendants are given until on or before March 23, 2015, in which to file pretrial motions
pursuant to the progression order. The ends of justice have been served by granting such
motion and outweigh the interests of the public and the defendants in a speedy trial. The
additional time arising as a result of the granting of the motion, i.e., the time between
December 23, 2014, and March 23, 2015, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act for the reason defendants'
counsel require additional time to adequately prepare the case, taking into consideration due
diligence of counsel, and the novelty and complexity of this case. The failure to grant additional
time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).
       DATED this 23rd day of December, 2014.
                                                    BY THE COURT:

                                                    s/ Thomas D. Thalken
                                                    United States Magistrate Judge
